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8                         UNITED STATES DISTRICT COURT

9                       CENTRAL DISTRICT OF CALIFORNIA
10                              SOUTHERN DIVISION

11   UNITED STATES OF AMERICA,      )         CV 07-4372 AHS
                                    )         CR 99-1007 AHS
12            Plaintiff/Respondent, )
                                    )         ORDER DENYING PETITIONER’S
13            v.                    )         (1) MOTION TO VACATE, SET
                                    )         ASIDE OR CORRECT SENTENCE
14   ERIK DAMON BOYD,               )         UNDER 28 U.S.C. § 2255 (2)
                                    )         AND (2) “MOTION REQUEST FOR
15            Defendant/Petitioner. )         ALL DOCUMENT(S),
                                    )         TRANSCRIPT(S), CONTRACT(S),
16                                  )         PRE-INVESTIGATION REPORT(S),
                                    )         AND ANYTHING THAT WAS
17                                  )         PRESENTED ON THE RECORD(S)
     ______________________________ )         WITH CASE NO(S). ABOVE”
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19                                       I.

20                            PROCEDURAL BACKGROUND

21              On February 27, 2001, following a jury trial (before

22   Judge Lourdes Baird), defendant Erik Damon Boyd (“petitioner”), was

23   convicted of one count of robbery affecting interstate commerce in

24   violation of 18 U.S.C. § 1951 and one count of conspiracy to commit

25   robbery affecting interstate commerce in violation of 18 U.S.C. §

26   1951.   On April 23, 2001, petitioner was sentenced to 210 months

27   imprisonment and ordered to pay restitution, joint and severally

28   with co-defendants, in the amount of $18,916,448.83.          On April 26,
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1    2001, petitioner filed a Notice of Appeal.        On March 14, 2003, the

2    district court spread the mandate from the United States Court of

3    Appeals, Ninth Circuit, affirming petitioner’s conviction.

4                On July 5, 2007, petitioner filed a Motion to Vacate, Set

5    Aside, or Correct Sentence under 28 U.S.C. § 2255 (“§ 2255

6    motion”).    On October 29, 2007, the Court set a briefing schedule.

7    On March 25, 2008, petitioner filed “Motion Request for All

8    Document(s), Transcript(s), Contract(s), Pre-Investigation

9    Report(s), and Anything That Was Presented on the Record(s) with

10   Case No(s). Above” (“document motion”).        On April 25, 2008, the

11   government filed opposition to petitioner’s § 2255 motion.

12   Petitioner had until May 23, 2008 to file a reply.          Petitioner

13   filed no reply.

14                                       II.

15                                   DISCUSSION

16   A.          Section 2255 Motion

17               Petitioner brings his § 2255 motion on the grounds of

18   ineffective assistance of counsel.        The government contends the

19   motion is time-barred and not subject to equitable tolling.1

20               The statute of limitations under § 2255 begins to run on

21   “the date on which the judgment of conviction becomes final,” with

22   exceptions not relevant here.      See § 2255(f)(1).     Though the

23   section does not define “final,” the “Supreme Court has held that a

24   conviction becomes final in the context of habeas review when ‘a

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26        1
           Because the Court finds the § 2255 motion time-barred, it
27   does not reach petitioner’s ineffective assistance of counsel
     claim. The Court finds an evidentiary hearing unnecessary to
28   resolve the motion. 28 U.S.C. § 2255(b).


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1    judgment of conviction has been rendered, the availability of

2    appeal exhausted, and the time for a petition for certiorari

3    elapsed or a petition for certiorari finally denied.’”          United

4    States v. Schwartz, 274 F.3d 1220, 1223 (9th Cir. 2001) (quoting

5    Griffith v. Kentucky, 479 U.S. 314, 321 n.6, 107 S. Ct. 708, 93 L.

6    Ed. 2d 649 (1987)).

7                Petitioner had 90 days after the Ninth Circuit’s judgment

8    to file a petition for writ of certiorari with the United States

9    Supreme Court, but did not.      Petitioner thus had to file the

10   instant § 2255 motion within a year of the end of the 90-day period

11   following the Ninth Circuit’s judgment.        The Ninth Circuit’s

12   mandate affirming the petitioner’s conviction was spread by the

13   Court’s order of March 14, 2003.       The government counts the statute

14   of limitations from January 30, 2003, the date the Ninth Circuit

15   affirmed the judgment.     Even when the 90 days is counted from the

16   latest of the aforementioned dates, petitioner’s § 2255 motion was

17   filed over three years late.      Thus, the § 2255 motion is time-

18   barred.

19                Petitioner acknowledges the untimeliness of his motion,

20   but requests that the Court equitably toll the statute of

21   limitations due to his counsel’s alleged failure to inform him of

22   the status of his direct appeal.       In the context of the

23   Antiterrorism and Effective Death Penalty Act of 1996, equitable

24   tolling is “appropriate only if extraordinary circumstances beyond

25   a prisoner’s control make it impossible to file a petition on

26   time.”    Miranda v. Castro, 929 F.3d 1063, 1066 (9th Cir. 2002)

27   (internal quotations and emphasis omitted).         The “extraordinary

28   circumstances” must have been the cause of the untimeliness.           Laws


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1    v. Lamarque, 351 F.3d 919, 922 (9th Cir. 2003).         The Ninth Circuit

2    has “made clear, however, that equitable tolling is unavailable in

3    most cases.”   Miranda, 929 F.3d at 1066.

4               An attorney’s “miscalculation of the limitations period”

5    to file a habeas motion or “his negligence in general” do not

6    amount to extraordinary circumstances warranting equitable tolling.

7    Frye v. Hickman, 273 F.3d 1144, 1146 (9th Cir. 2001).          Here,

8    petitioner claims he did not timely file the instant motion because

9    his attorney had “affirmatively misled” him into believing his

10   direct appeal was pending as of September 2006.         (See Motion, at

11   13).   Petitioner does not explain how he was “affirmatively

12   misled,” nor does he explain what efforts he made to keep apprised

13   of his appeal’s progress before September 2006.         Moreover,

14   petitioner’s counsel has filed a declaration stating he was in

15   contact with petitioner’s family, was told by the family that they

16   were in regular contact with petitioner, and that he informed the

17   family of the Ninth Circuit’s ruling in February 2003.

18   (Declaration of Gregory Nicolaysen ¶ 8).        Counsel assumed

19   petitioner’s family would convey this information to him.

20              At most, counsel was “negligent” in not directly

21   informing his client regarding the resolution of his appeal.           Frye,

22   273 F.3d at 1146.    The circumstances here are far from the

23   “extraordinary circumstances” necessary to warrant equitable

24   tolling.   See Spitsyn v. Moore, 345 F.3d 796, 801 (9th Cir. 2003).

25   In Spitsyn, petitioner’s attorney was retained and accepted payment

26   for the specific purpose of filing a habeas petition.          Id.   The

27   attorney then “completely failed to prepare and file a petition”

28   and did not relinquish petitioner’s file to him before the end of


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1    the limitations period.     Id.   The court found the attorney engaged

2    in sufficiently “extraordinary” misconduct to warrant equitable

3    tolling.   Spitsyn is distinguishable from the case at hand,

4    however.   Petitioner’s counsel owed him no duty of representation

5    with regard to his § 2255 motion and there is no evidence that

6    petitioner’s counsel “affirmatively misled” him.         Equitable tolling

7    is, accordingly, not warranted in this case         Petitioner’s § 2255

8    motion is denied.

9    B.         Document Motion

10              During the pendency of his § 2255 motion, petitioner

11   filed a document motion.     Because the Court denies petitioner’s §

12   2255 motion, it similarly denies his document motion.          Though a §

13   2255 petitioner is in some circumstances entitled to receive a

14   trial transcript, the Court finds that, because petitioner’s motion

15   is time-barred, “the transcript is [not] needed to decide the issue

16   presented by” the motion.      See 28 U.S.C. § 753(f); see also United

17   States v. MacCollom, 426 U.S. 317, 325, 96 S. Ct. 2086, 48 L. Ed.

18   2d 666 (1976).

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1                                                        III.

2                                                  CONCLUSION

3                    For the foregoing reasons, the Court denies petitioner’s

4    § 2255 motion and his document motion.

5                    IT IS SO ORDERED.

6                    IT IS FURTHER ORDERED that the Clerk shall serve a copy

7    of this Order on counsel for all parties in this action and

8    petitioner at her last known place of incarceration.

9                    DATED:        July 21, 2008.

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11                                                            ______________________________
                                                                   ALICEMARIE H. STOTLER
12                                                               CHIEF U.S. DISTRICT JUDGE

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